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 1    Thane Charman
      2270 Boundary St
 2
      San Diego, CA 92104
 3    Telephone: 800-673-4384
      Email: OBEY.TCPA@GMAIL.COM
 4
 5    Plaintiff, Pro Se
 6
                                  UNITED STATES DISTRICT COURT
 7
                                SOUTHERN DISTRICT OF CALIFORNIA
 8
 9
      THANE CHARMAN, individual                     Civil Case No.:
10
                           Plaintiff,
11                                                  1. WILLFUL VIOLATIONS OF THE
      v.                                            TELEPHONE CONSUMER
12
                                                    PROTECTION ACT [47 U.S.C. §227(b)]
      DESERT LAKE GROUP, LLC, d/b/a
13                                                  2. NEGLIGENT VIOLATIONS OF
      FIRST CLASS HERB TINCTURE, d/b/a              TELEPHONE CONSUMER
14
                                                    PROTECTION ACT [47 U.S.C §227 (b)]
      FIRST CLASS HERBALISTCBD, d/b/a
15                                                  3. WILLFUL VIOLATIONS OF THE
      FIRST CLASSHERBALIST OILS, d/b/a              TELEPHONE CONSUMER
16
                                                    PROTECTION ACT [47 U.S.C. §227(c)]
      USAHERBALIST OILS, CHRIS
17                                                  4. NEGLIGENT VIOLATIONS OF
      TIRRELL ARMSTRONG, a natural                  THE TELEPHONE CONSUMER
18
                                                    PROTECTION ACT [47 U.S.C. §227(c)]
      person, and DEAN HOGGAN, a natural
19                                                  5. VIOLATIONS OF THE
      person                                        TELEPHONE CONSUMER
20
                                                    PROTECTION ACT ]47 C.F.R. §
21                        Defendants,               64.1200(d)}
22
                                                    JURY TRIAL DEMANDED
23
24
25
26
27
28
      SECOND AMENDED COMPLAINT                  1                         ____________
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 1                     PLAINTIFF’S SECOND AMENDED COMPLAINT
 2
                                                PARTIES
 3
      1.    The Plaintiff THANE CHARMAN (“Plaintiff”) a natural person, resident of the
 4
 5    Southern District of California, and was present in California for all automated text
 6
      messages, in this case in San Diego County, California.
 7
      2.    The Defendant Desert Lake Group (“Defendant”), aka First Class Herb Tincture,
 8
 9    aka First Class Herbalistcbd, aka First Class Herbalist Oils, aka USA Herbalist Oils, is a
10
      Limited Liability Company, and at all times mentioned herein was, organized and
11
      existing under the laws of Utah and with its principal place of business in Cottonwood
12
13    Heights, Utah.
14
      3.    Defendant is a “person,” as defined by 47 U.S.C. § 153(39).
15
      4.    Defendant Chris Tirrell Armstrong (“Armstrong”) is a natural person, a resident of
16
17    Utah, and can be served at 1626 E Timoney Rd Draper UT 84020.
18
      5.    Ryan Dean Hoggan (“Hogan”) is a natural person, a resident of Canada, and can be
19
      served at 800-1199 West Hastings St. V6E 3T5.
20
21    Vancouver, BC, Canada.
22
23
24
25                                JURISDICTION AND VENUE
26
27
28
      SECOND AMENDED COMPLAINT                     2                              ____________
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 1    5.     Jurisdiction. This Court has subject matter jurisdiction over Counts I and II under
 2
      28 U.S.C § 1331, because the claims arise under the federal Telephone Consumer
 3
      Protection Act, 47 U.S.C. § 227. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368,
 4
 5    386-87 (2012) (holding that federal courts have federal question jurisdiction over private
 6
      actions brought under the TCPA).
 7
      6.     The Court has supplemental jurisdiction over Count III under 28 U.S.C § 1367.
 8
 9
10
      7.     Personal Jurisdiction. This Court has specific personal jurisdiction over
11
      Defendants Desert Lake, Armstong, and Hoggan because they purposefully availed
12
13    themselves to the state of California with their purposeful contacts with the State.
14
      8.     Defendant Chris Armstrong and Defendant Ryan Hoggan as managers of Desert
15
      Lake Group LLC directed that the calls be placed into California.
16
17    9.     Defendant Chris Armstrong and Defendant Ryan Hoggan directed Desert Lake
18
      Group LLC to purposefully target the State of California, and this District, with
19
      solicitation phone calls.
20
21    10.    There is a sufficient relationship between Defendant Chris Armstrong and Ryan
22
      Hoggan’s via Desert Lake Group LLC purposeful contacts with California and the
23
      litigation:
24
25
26
27
28
      SECOND AMENDED COMPLAINT                     3                               ____________
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 1              a. Defendant Desert Lake Group targets California when marketing CBD
 2
                   TINCITURE AND OILS and regularly conducts business in this District,
 3
                   including via telephone solicitation.
 4
 5              b. Desert Lake Group called Plaintiff’s San Diego-area phone number (with
 6
                   area code 619) to generate leads for Desert Lake Group’s CBD TINCITURE
 7
                   AND OILS.
 8
 9              c. These calls to California injured Plaintiff in California, creating a causal link
10
                   among Defendants Chris Armstrong and Defendant Ryan Hoggan and
11
                   Desert Lake Group, the forum, and the litigation that exceeds the non-causal
12
13                 affiliation that is sufficient to support personal specific jurisdiction. See
14
                   Ford Motor Co. v Mont. Eight Jud. Dist. Ct., 141 S. Ct. 1017 (2021
15
      8.    Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because
16
17    the conduct giving rise to this case, violating telephone calls received, substantially
18
      occurred in this District.
19
                       THE TELEPHONE CONSUMER PROTECTION ACT
20
21                                      OF 1991, 47 U.S.C. § 227
22
      9.    In 1991, Congress enacted the TCPA to restrict the use of sophisticated
23
      telemarketing equipment that could target millions of consumers en masse. Congress
24
25    found that these calls were not only a nuisance and an invasion of privacy to consumers
26
      specifically but were also a threat to interstate commerce generally. See S. Rep. No. 102-
27
28
      SECOND AMENDED COMPLAINT                      4                                ____________
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 1    178, at 2-3 (1991), as reprinted in 1991 U.S.C.C.A.N. 1968, 1969-71.
 2
      10.   The TCPA makes it unlawful “to make any call (other than a call made for
 3
      emergency purposes or made with the prior express consent of the called party) using an
 4
 5    automatic telephone dialing system (‘ATDS”) or an artificial or prerecorded voice … to
 6
      any telephone number assigned to a … cellular telephone service.” 47 U.S.C. §
 7
      227(b)(1)(A)(iii).
 8
 9    11.   The TCPA makes it unlawful “to initiate any telephone call to any residential
10
      telephone line using an artificial or prerecorded voice to deliver a message without the
11
      prior express consent of the called party, unless the call is initiated for emergency
12
13    purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by the
14
      United States or is exempted by rule or order” of the Federal Communication
15
      Commission (“FCC”). 47 U.S.C. § 227(b)(1)(B).
16
17    12.   The TCPA provides a private cause of action to persons who receive calls in
18
      violation of § 227(b). 47 U.S.C. § 227(b)(3).
19
      13.   Separately, the TCPA bans telemarketing calls without a do-not-call policy
20
21    available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1). 1
22
      14.   The TCPA provides a private cause of action to persons who receive calls in
23
      violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).
24
25
26
      1
       See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017) (codifying a
27    June 26, 2003 FCC order).
28
      SECOND AMENDED COMPLAINT                      5                               ____________
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 1    15.   According to findings of the FCC, the agency vested by Congress with authority to
 2
      issue regulations implementing the TCPA, automated or prerecorded telephone calls are a
 3
      greater nuisance and invasion of privacy than live solicitation calls and can be costly and
 4
 5    inconvenient.
 6
      16.   The FCC also recognizes that “wireless customers are charged for incoming calls
 7
      whether they pay in advance or after the minutes are used.” In re Rules and Regulations
 8
 9    Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Rcd. 14014, 14115 ¶ 165
10
      (2003).
11
      17.   The FCC requires “prior express written consent” for all autodialed or prerecorded
12
13    telemarketing robocalls to wireless numbers and residential lines. In particular:[A]
14
      consumer’s written consent to receive telemarketing robocalls must be signed and be
15
      sufficient to show that the consumer: (1) received clear and conspicuous disclosure of
16
17    the consequences of providing the requested consent, i.e., that the consumer will receive
18
      future calls that deliver prerecorded messages by or on behalf of a specific seller; and (2)
19
      having received this information, agrees unambiguously to receive such calls at a
20
21    telephone number the consumer designates. In addition, the written agreement must be
22
      obtained without requiring, directly or indirectly, that the agreement be executed as a
23
      condition of purchasing any good or service.
24
25    18.   In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
26
      1991, 27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote and internal quotation marks
27
28
      SECOND AMENDED COMPLAINT                     6                               ____________
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 1    omitted). FCC regulations “generally establish that the party on whose behalf a
 2
      solicitation is made bears ultimate responsibility for any violations.” In the Matter of
 3
      Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC Rcd.
 4
 5    12391, 12397 ¶ 13 (1995).
 6
      19.   The FCC confirmed this principle in 2013, when it explained that “a seller … may
 7
      be held vicariously liable under federal common law principles of agency for violations
 8
 9    of either section 227(b) or section 227(c) that are committed by third-party
10
      telemarketers.” In the Matter of the Joint Petition Filed by Dish Network, LLC, 28 FCC
11
      Rcd. 6574, 6574 ¶ 1 (2013).
12
13    20.   Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc.,
14
      569 F.3d 946, 951 – 52 (9th Cir. 2009).
15
      21.   A corporate officer involved in the telemarketing at issue may be personally liable
16
17    under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-10010,
18
      2013 U.S. Dist. LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) (“[M]any courts have
19
      held that corporate actors can be individually liable for violating the TCPA where they
20
21    had direct, personal participation in or personally authorized the conduct found to have
22
      violated the statute.” (Internal quotation marks omitted)); Maryland v. Universal
23
      Elections, 787 F. Supp. 2d 408, 415 – 16 (D. Md. 2011) (“If an individual acting on
24
25    behalf of a corporation could avoid individual liability, the TCPA would lose much of its
26
      force.”).
27
28
      SECOND AMENDED COMPLAINT                     7                                 ____________
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 1    Dismissal of TCPA Text Violations Cases is Not Appropriate at the Pleadings Stage
 2
      22.      Numerous Courts have found that the dismissal of ATDS Text claims is not
 3
      appropriate at the pleading stage provided that the Plaintiff has alleged facts sufficient
 4
 5    enough to plausibly find an ATDS was used to generate the texts. In fact, in a recent
 6
      Ninth Circuit TCPA cases dealing with text messages, the Courts have ruled Duguid vs.
 7
      Facebook does not apply at the motion to dismiss stage of litigation.
 8
 9    23.      In Cupp v. First National Collection Bureau, Inc., No. C 22-08112 2023 WL
10
      2311967 (N.D. Cal. Feb. 28, 2023) the courts held While [the] complaint does not allege
11
      facts detailing exactly how defendant’s text messaging system functions, it does allege
12
13    that plaintiff received fifteen such messages in the rough span of one month…. Because
14
      there are material issues of fact remaining — namely how defendant’s dialing system
15
      functions — judgment on the pleadings is inappropriate. Defendant’s motion for
16
17    judgment on the TCPA claim is DENIED
18
                                       FACTUAL ALLEGATIONS
19
      24.      At all times material hereto Plaintiff’s number 619-3X0-X1X0 was successfully
20
21          registered on the Do-Not-Call Registry.
22
      25.      Plaintiff’s number 619-3X0-X1X0 was personally registered on the Do-Not-Call
23
            Registry in May 2018.
24
25    26.      Bankruptcy Courts discharged all claims and liabilities incurred by Desert Lake
26
            Group Prior to October 15, 2020.
27
28
      SECOND AMENDED COMPLAINT                        8                             ____________
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 1    27.      Bankruptcy discharge under Section 1141 discharges all claims and debts owed by
 2
            the Chapter 11 Debtor.
 3
      28.      Defendants Ryan Hoggan (“Hoggan”), Chris Armstrong (“Armstrong”) are
 4
 5    individuals and were NOT the “Debtor” in the Chapter 11, subchapter V business
 6
      bankruptcy filed by Desert Lake LLC. In fact the Final Order granting plan confirmation
 7
      (and discharge) indicates the bankruptcy was filed by Desert Lake Group LLC, a/k/a
 8
 9    4Bush Holdings, LLC. There is nothing in any of the paperwork to indicate that any
10
      other entity or person is the Debtor in the case. As such, no other non-Debtor entities are
11
      protected by the discharge injunction as to any claims under which they are found to have
12
13    individual liability. In fact, as they are individuals, they could not have been a part of the
14
      Subchapter V Business Bankruptcy.
15
      29.      In a Chapter 11, Subchapter V, Business bankruptcy, there are many possible
16
17    players, the “Debtor,” creditors, shareholders, officers, and employees to name a few.
18
      These other “Non-Debtor” entities are not the Debtor and are not afforded the protections
19
      (nor take the risks) of the Debtor.
20
21    30.      For example, the 9th Circuit BAP in Lafferty v. Off-Spec Solutions Lafferty v. Off-
22
      Spec Sols. (In re Off-Spec Sols.), BAP ID-23-1020-GCB (B.A.P. 9th Cir. Jul. 6, 2023)
23
      engaged in a dissection of the issue of whether section 523(a)(6) claims against the
24
25    Debtor, its owners, and its parent company would withstand a Chapter 11 Subchapter V
26
27
28
      SECOND AMENDED COMPLAINT                       9                               ____________
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 1    Business bankruptcy discharge. The BAP decided that 523(a)(6) claims do not. But
 2
      germane to the issue here, in footnote #5 the Court indicated:
 3
            “The bankruptcy court dismissed the complaint as to all defendants after
 4
 5          determining that the claims against non-debtors were not related to the bankruptcy
 6
            case. The dismissal of claims against non-debtors is not at issue in this appeal.
 7
            However, we note that, to the extent Appellant asserts claims against non-debtors,
 8
 9          such claims will not be affected by Debtor’s discharge [emphasis added].
10
      In other words, the non-debtor entities, (parent company and owners) were not protected
11
      by the bankruptcy discharge the Debtor Corporation would receive.
12
13    31.   Similarly, in Silver State v. Carmel, Silver State Broad. v. Carmel (In re Silver
14
      State Broad.), BAP NV-23-1111-NFB (B.A.P. 9th Cir. Feb. 13, 2024), the BAP was
15
      asked to extend the automatic stay under section 362 of the Bankruptcy Code to protect
16
17    Non-debtors. In the Silver State Bankruptcy case, the Debtors were 3 LLCs that were
18
      jointly administered. In that case, the Debtors sought to have the Court extend the
19
      automatic stay as to Royce International (an equity holder) and Ed Stoltz the owner of
20
21    Royce International. The BAP indicated:
22
            “Nothing in the express language of § 362(a) extends the automatic stay to non-
23
            debtors. The automatic stay protects only the debtor, the debtor’s property, and the
24
25          property of the debtor’s bankruptcy estate. § 362(a). It does not protect the debtor’s
26
            owners, affiliates, or co-obligees.”
27
28
      SECOND AMENDED COMPLAINT                     10                             ____________
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 1    Again, it is clear that the protections afforded to the DEBTOR in a bankruptcy case are
 2
      only afforded to the Debtor absent special circumstances. Here, the individuals named in
 3
      the TCPA action are not protected by the discharge afforded to Desert Lake Group LLC.
 4
 5    32.   For decades, courts have agreed that the TCPA’s language allows for personal
 6
      liability for corporate officers. The key ruling setting the standard for personal liability in
 7
      these cases is the Western District of Texas Court’s 2001 ruling in Texas vs. American
 8
 9    Blast Fax, Inc. In its ruling, the court set forth the precedent that “an officer may be
10
      personally liable under the TCPA if he had direct, personal participation in or personally
11
      authorized the conduct found to have violated the statute and was not merely tangentially
12
13    involved.
14
      33.   Defendant Armstrong and Defendant Hoggan are at the center of a business
15
      enterprise through a web of interlocking LLCs and Corporations that include Desert Lake
16
17    Group LLC. See Consumer Reports article titled “Beware Dietary Supplements
18
      Marketed Online” See Exhibits A and B.
19
      34.   For Further understanding of how Defendants Hoggan and Armstrong's business
20
21    enterprise works see the cyber security company Risky, Inc’s report “Scam Nation
22
      Monetizing the Pandemic through Partisan Content Farms and Subscription Traps” See
23
      Exhibit C.
24
25    35.   The business enterprise included not only Desert Lake Group LLC but over a
26
      dozen companies that are operated and controlled by Defendants Hoggan and Armstrong.
27
28
      SECOND AMENDED COMPLAINT                      11                               ____________
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 1    36.   Defendants Hoggan and Armstrong deliberately attempt to mask their business
 2
      identities and protect themselves from liability and prosecution. It is a shell game.
 3
      The Consumer Reports investigation into Defendants included a review of hundreds of
 4
 5    pages of corporate filing, court records and documents obtained through public records
 6
      requests as well as interviews with advocates, lawyers, and consumers.
 7
      37.   The RiskIQ investigation led to the mapping out of interconnected networks of
 8
 9    websites—often referred to as "content farms"—that push fake or misleading news
10
      articles covering multiple topics, including the COVID-19 pandemic. The investigation
11
      also led to identifying the actors behind these fraudulent networks.
12
13    38.   The Consumer reports-RiskIQ investigations found that defendants and their
14
      business enterprise are selling their product through robocalls, spam emails, and texts.
15
      39.   Defendants Hoggan and Armstrong’s business enterprise relied on the help of
16
17    numerous parties-marketers, payment processors, suppliers, retailers working hand in
18
      hand. And are structured in ways that insulate them from legal and financial backlash.
19
      40.   During the period when the Desert Lake Group sent the texts to Plaintiff, Chris
20
21    Armstrong was a member of the LLC and directed the text messages be sent to Plaintiff’s
22
      California telephone number.
23
      41.   During the period up to January 31, 2020, when the Desert Lake Group sent the
24
25    texts to Plaintiff, Defendant Hoggan was a manager of the LLC and directed that the text
26
      messages be sent to Plaintiff’s California telephone number.
27
28
      SECOND AMENDED COMPLAINT                     12                              ____________
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 1    42.   The Consumer Reports article further alleges that Defendant Armstrong is in
 2
      charge of the marketing of the business enterprise of which Desert Lake Group is a part.
 3
      43.   The Consumer Reports article further alleges that Defendant Hoggan is in charge
 4
 5    of the operation of the business enterprise that Desert Lake Group is a part of.
 6
      44.   It is a reasonable inference to draw from the pleadings that this High-level
 7
      Defendant Armstrong and Defendant Hoggan personally participated in, had personal
 8
 9    knowledge of, and directed the activities to include marketing of Desert Lake group via
10
      text messages sent to California area codes that violated the TCPA.
11
      45.   Defendant Armstrong as manager personally directed Desert Lake Group to send
12
13    TCPA-violating text messages to California.
14
      46.   Defendant Hoggan as manager personally directed Desert Lake Group to send
15
      TCPA-violating text messages to California.
16
17    47.   Plaintiff received at least nine (9) unauthorized automated text messages (“the text
18
      messages”) to his personal cell phone number 619 3X0-X1X0 from Defendant soliciting
19
      their goods and services starting on January 25, 2020.
20
21    48.   On or about January 25, 2020, at approximately 9:15 AM PST, Defendant sent an
22
      automated text message to Plaintiff’s cellular telephone number from the telephone
23
      number 657-352-8362.
24
25    49.   The text from paragraph (48) sent by Defendant reads as follows:
26
27
28
      SECOND AMENDED COMPLAINT                    13                               ____________
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 1    “, cbd is proven to reduce pain. Anxiety and stess? Its legal in all 50 states! Get yours
 2    now!”
 3
 4
      50.        The link embedded in the text message cbdmagic5.xyz redirects the recipient to a
 5
      website that sells and promotes products and services offered by Defendant, including the
 6
 7    product CBD described in the body of the text.
 8
      51.        Table A below displays texts made to Plaintiff by Defendant:
 9
                                                                             TABLE A
10
11    number     date      time     website            body
      6573528362 25-Jan-20 9:51 AM cbdmagic5.xyz       , dbd is proven to reduce pain, anxiety and stess? It lega in all 50 states! get yours now!
12    9495475981 26-Jan-20 10:07 PM cbdmagic5.xyz
      7142646873 27-Mar-20 10:40 PM purecbdcoffee.xyz
                                                       , dbd is proven to reduce pain, anxiety and stess? It lega in all 50 states! get yours now!
                                                       mate, CBD coffee a pwerful natural relief! Reduces pain aches anxiety and stress. Get yours now!
      3474470349 27-Jun-20 3:43 PM naturalcbdgummy.xyz mate, 100% pure cbd infused gummies is a powerful and & natural. Reduce pain, & anziety get yours now! Website
13    7187533650 10-Jul-20 12:05 PM 1bestcbdoil.xzy    , 100% pure cbd oil reduce pain, stress inflammation & Enhance focus. Get yours now! Website
      9292739054 19-Jul-20 11:25 AM bestoilcbd.xzy     , 100% pure cbd oil reduce pain, stress inflammation & Enhance focus. Get yours now! Website

14
      9292850656 19-Jul-20 10:40 PM 1bestcbdgummy.xyz  mate, 100% pure cbd infused gummies is a powerful and & natural. Reduce pain, & anziety get yours now! Website
      9177412670 26-Jul-20 5:53 PM itsgreatnatural.xyz , 100% pure herbal cbd coffee a powerful natural relief! Reduces pain aches, anxiety. Get yours now! Website
      9178532179 28-Jul-20 5:35 PM tocbdoil.xyz        mate 100% pure cbd oil most pwerful you can buy. Reduce pain, stess & enhance focus. Get yours now!

15
16    52.        Each and every text message redirects to a website owned by the Defendant and
17
      soliciting CBD.
18
19    53.        Defendant is an online seller of CBD oil-gummies-coffee.

20                                                              ATDS ALLEGATIONS
21
      54.        Defendant does not have any prior existing business relationship with Plaintiff.
22
23    Plaintiff has never been a customer or client of Defendant. Defendant had no reason to

24    have Plaintiff’s phone number. A random phone search is the only explanation for why
25
      the text messages were sent.
26
27
28
      SECOND AMENDED COMPLAINT                                                       14                                                      ____________
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 1    55.   The marketing messages are not directed to the Plaintiff and could have been sent
 2
      to any person in the United States with a cell phone.
 3
      56.   Defendant did not know Plaintiff’s phone number and could not thus include the
 4
 5    number 619 3X0-X1X0 as part of a database or spreadsheet.
 6
      57.   Defendant sent multiple texts to Plaintiff from different phone numbers, often
 7
      within hours or seconds of each other.
 8
 9    58.   Defendant sent multiple texts from different numbers having identical language in
10
      the body of the texts.
11
      59.   Upon information and good faith belief, and in light of the nature and character of
12
13    the text messages at issue—standardized, impersonal, identical spelling, and sent from
14
      different phone numbers—the advertisement and marketing text messages at issue were
15
      sent by using ATDS as defined by 47 U.S.C. § 227(a)(1).
16
17    60.   Plaintiff did not give Defendant his prior express written consent to receive the text
18
      messages.
19
      61.   Each and every call was placed without the maintenance of an internal do-not-call
20
21    policy. Each and every call was placed without training their agents/employees on the use
22
      of an internal do-not-call policy.
23
      62.   Plaintiff has limited data storage capacity on his cellular telephone. Incoming
24
25    telemarketing calls consumed part of this capacity.
26
      63.   No emergency necessitated any of the alleged illegal automated text messages.
27
28
      SECOND AMENDED COMPLAINT                    15                              ____________
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 1                  INJURY, HARM, DAMAGES, and ACTUAL DAMAGES
 2
                                    AS A RESULT OF THE CALLS
 3
      64.   Defendant’s automated text messages harmed Plaintiff by causing the very harm
 4
 5    that Congress sought to prevent—a “nuisance and invasion of privacy.”
 6
      65.   Defendant’s automated text messages harmed Plaintiff by trespassing upon and
 7
      interfering with Plaintiff’s rights and interests in Plaintiff’s cellular telephone.
 8
 9    66.   Defendant’s automated text messages harmed Plaintiff by intruding upon
10
      Plaintiff’s seclusion.
11
      67.   Plaintiff has been harmed, injured, and damaged by the text messages including,
12
13    but not limited to: reduced device storage, reduced data plan usage, anger, frustration,
14
      invasion of privacy, and more frequent charging of his cell phone.
15
                               Plaintiff’s cell phone is a residential number
16
17    68.   The text messages were to Plaintiff’s cellular phone 619 3X0-X1X0 which is
18
      Plaintiff’s personal cell phone that he uses for personal, family, and household use.
19
      Plaintiff also uses his cell phone for navigation purposes, sending and receiving emails,
20
21    timing food when cooking, and sending and receiving text messages. Plaintiff further has
22
      his cell phone registered in his personal name, pays the cell phone from his personal
23
      accounts.
24
25                                      COUNT ONE:
       Violations of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii), by Automated Telemarketing
26
                            without Prior Express Written Consent
27                                 (Against All Defendants)
28
      SECOND AMENDED COMPLAINT                       16                               ____________
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 1
 2    69.   Plaintiff incorporates the foregoing allegations as if fully set forth herein.
 3
      70.   Defendant and/or their agents placed automated text messages to Plaintiff’s
 4
      cellular telephone.
 5
 6    71.   Plaintiff never consented to receive automated text messages from Defendant.
 7
      Plaintiff has had no relationship with Defendant.
 8
      72.   Defendant’s automated text messages were made for purposes of advertising and
 9
10    marketing their goods and services. These automated text messages constituted
11
      commercial advertising and telemarketing as contemplated by the TCPA.
12
      73.   As a result of their unlawful conduct, Defendant repeatedly invaded the personal
13
14    privacy of Plaintiffs, causing Plaintiff to suffer damages and, under 47 U.S.C. § 227(b)
15
      (3)(B), entitling Plaintiff to recover $500 in statutory damages for each violation and an
16
      injunction requiring Defendant to stop their unlawful text message campaigns.
17
18    74.   Not only did Defendant make these violating automated text messages, but
19
      Defendant and/or their agents also did so “knowingly” and/or “willfully’ under 47 U.S.C.
20
      § 227 (b)(3) (C).
21
22    75.   If the Court finds that Defendant willfully or knowingly violated this subsection,
23
      the Court may exercise its discretion to increase the amount of the award from $500 to
24
      $1500 per violation under 47 U.S.C. § 227(b)(3)(C).
25
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      SECOND AMENDED COMPLAINT                     17                                ____________
     Case 3:23-cv-00959-BAS-KSC Document 45 Filed 05/26/24 PageID.332 Page 18 of 21




 1                                          COUNT TWO:
 2       (Violation of the TCPA “Sales Call/DNC” Prohibition, 47 U.S.C. 227(c), and 47
 3                                       C.F.R. § 64.1200(C))
 4                                     (Against All Defendants)
 5    76.   Plaintiff incorporates the foregoing allegations as if fully set forth herein.
 6
      77.   The foregoing acts and omissions of Defendant and/or their affiliates or agents
 7
      constitute a violation of FCC regulations by making multiple telemarketing solicitations
 8
 9    to a consumer on the National Do-Not-Call Registry within a 12-month period in
10
      violation of 47 C.F.R. § 64.1200(c)(2).
11
      78.   Plaintiff was statutorily damaged at least nine (9) times under 47 U.S.C. §
12
13    227(c)(3)(F) by Defendant by the automated text messages described above, in the
14
      amount of $500 per automated text message.
15
      79.   Plaintiff is entitled to an award of at least $500 in damages for each such violation.
16
17    47 U.S.C. § 227(c)(5)(B).
18
      80.   Plaintiff is entitled to an award up to $1,500 in damages for each knowing or
19
      willful violation of 47 U.S.C. § 227(c)(3)(F).
20
21                                            COUNT THREE:
22                  Telemarketing without Mandated Safeguards, 47 C.F.R. § 64.1200(d)
23                                            (Against All Defendant)
24    81.   Plaintiff incorporates the foregoing allegations as if fully set forth herein.
25
26
27
28
      SECOND AMENDED COMPLAINT                     18                                ____________
     Case 3:23-cv-00959-BAS-KSC Document 45 Filed 05/26/24 PageID.333 Page 19 of 21




 1    82.   The foregoing acts and omissions of Defendant and/or their affiliates or agents
 2
      constitute multiple violations of FCC regulations by making telemarketing solicitations
 3
      despite lacking the following:
 4
 5
               a. A written policy, available upon demand, for maintaining a do-not-call list,
 6
                   in violation of 47 C.F.R. § 64.1200(d)(1) 2;
 7
 8             b. Training for the individuals involved in the telemarketing on the existence of
 9
                   and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2) 3; and,
10
               c. In the solicitations, the name of the individual caller and the name of the
11
12                 person or entity on whose behalf the call is being made, in violation of 47
13
                   C.F.R. § 64.1200(d)(4). 4
14
      83.   Plaintiff is entitled to an award of at least $500 in damages for each such violation.
15
16    47 U.S.C. § 227(c) (5)(B).
17
      84.   Plaintiff is entitled to an award of up to $1,500 in damages for each such knowing
18
      or willful violation. 47 U.S.C. § 227(c)(5).
19
20
                                        PRAYER FOR RELIEF
21
22          WHEREFORE, Plaintiff THANE CHARMAN prays for judgment against the
23    Defendant jointly and severally as follows:
24
25
26    2
        See id. at 425 (codifying a June 26, 2003 FCC order).
      3
        See id. at 425 (codifying a June 26, 2003 FCC order).
27    4
        See id. at 425 (codifying a June 26, 2003 FCC order
28
      SECOND AMENDED COMPLAINT                       19                             ____________
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 1          A.     Leave to amend this Complaint to name additional DOEs as they are
 2
      identified and to conform to the evidence presented at trial;
 3
            B.     A declaration that actions complained of herein by Defendant violates the
 4
 5    TCPA and California state law;
 6
            C.     An injunction enjoining Defendant and their affiliates and agents from
 7
      engaging in the unlawful conduct set forth herein;
 8
 9          D.     An award of $1500 per automated text message in statutory damages arising
10
      from the TCPA §227(b) intentional violations jointly and severally against the
11
      corporations and individuals for nine (9) automated text messages.
12
13          E.     An award of $1500 per automated text message in statutory damages arising
14
      from the TCPA §227(c) intentional violations jointly and severally against the
15
      corporations and individuals for nine (9) automated text messages.
16
17          F.     An award to Mr. Charman of damages, as allowed by law under the TCPA;
18
            G.     An award to Mr. Charman of interest, costs, and attorneys’ fees, as allowed
19
      by law and equity
20
21          H.     Such further relief as the Court deems necessary, just, and proper.
22
23
24
                                        JURY TRIAL DEMANDED
25
26
            Dated: May 27, 2024              Respectfully submitted,
27
28
      SECOND AMENDED COMPLAINT                     20                             ____________
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 2
                                    By: /s/ Thane charman
 3
                                        THANE CHARMAN
 4                                      Plaintiff, Pro Se
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      SECOND AMENDED COMPLAINT               21                          ____________
